                   Case 4:12-cr-00004-WTM-GRS Document 212 Filed 05/18/15 Page 1 of 1
AU 247(10/11) Order Regarding Motion for Sentence Reduction PursLIaut to 18 USC. § 3582(c)(2)                               Page I of 2 (Page 2 Not for Public Disclosure)



                                                               UNITED STATES DISTRICT COURT
                                                                          for the
                                                                     Southern District of Georgia
                                                                         Savannah Division

                       United States of America
                                          V.                                           )
                                                                                       ) Case No: 4:12-CR-00004-6
                              Thomas L. Taylor
                                                                                       ) USMNo: 17279-021
Date of Original Judgment:         November 30, 2012                                   ) Brian L. Daly
Date of Previous Amended Judgment: Not Applicable                                      ) Defendant's Attorney
(Use Date of Last Amended Judgment, if any)


                                            Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


        Upon motion of         the defendant                    fl
                                                  the Director of the Bureau of Prisons                           fl
                                                                                              the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § 1 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
    DENIED. F
            X GRANTED and the defendant's previously imposed sentence of imprisonment as reflected in the lastiudgmeni
              issued) of 121 months is reduced to                          100 months


                                                    (Complete Paris I and!! of Page 2 when motion is granted)

             F.—

             CD—

                       LL_                 -

                                          (I)

             =                      —J
                                    C-)




Except as otherwise provided above, all provisions of the judgment dated November 30. 2012, shall remain in effect.
IT IS SO ORDERED.

Order Date:            ____________
                                                                                                              Judge's signu1u


                                                                                           William T. Moore, Jr.
                                                                                           Judge, U.S. District Court
Effective Date: November 1, 2015                                                           Southern District of Georgia
                         (tfdfJerent from order dale)                                                       Printed name and title
